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          IN THE UNITED STATES DISTRICT COURT
         FOR THE NORTHERN DISTRICT OF GEORGIA
                    ATLANTA DIVISION


 Faith Njoku,

                        Plaintiff,
                                         Case No. 1:21-cv-1413-MLB
 v.

 Wellspring Living, Inc.,

                        Defendant.

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                                  ORDER

      This matter comes before the Court on Plaintiff Faith Njoku’s

failure to obey a lawful order of this Court.

I.    Background

      Plaintiff, proceeding pro se, sued her former employer, Defendant

Wellspring Living, Inc. (Dkt. 2-1.) On May 10, 2021, Defendant filed its

Preliminary Report and Discovery Plan, in which it stated that Plaintiff

had failed to participate in an early planning conference as required by

Federal Rule of Civil Procedure 26(f) and Local Rule 16.1 (“Rule 26(f)

Conference”).   (Dkts. 9; 9-1.)      On May 18, 2021, the Court ordered

Plaintiff, no later than June 8, 2021, to participate in a Rule 26(f)
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Conference with counsel for Defendant and warned Plaintiff that failure

to comply with its order “may lead to the Court imposing sanctions,

including the dismissal of this case.” (Dkt. 11 at 1.) The Court also

ordered the parties to notify the Court, no later than June 8, 2021,

whether a Rule 26(f) Conference was conducted. (Id. at 1–2.) On June 8,

2021, Defendant notified the Court that Plaintiff had continued to refuse

to participate in a Rule 26(f) Conference, despite defense counsel’s

repeated efforts to contact her to schedule it. (Dkt. 12.) Defendant asks

the Court to dismiss this case with prejudice as a sanction for Plaintiff’s

failure to comply with a lawful court order. (Id. at 2.)

II.   Discussion

      Dismissal of an action is permitted under the Federal Rules of Civil

Procedure and this Court’s Local Rules for failure to comply with an order

of the Court and for failure to prosecute. See Fed. R. Civ. P. 41(b) (“If the

plaintiff fails to prosecute or to comply with these rules or a court order,

a defendant may move to dismiss the action or any claim against it.”);

L.R. 41.3(A)(2), NDGa (“The Court may, with or without notice to the

parties, dismiss a civil case for want of prosecution if: . . . [a]

plaintiff . . . fail[s] or refuse[s] to obey a lawful order of the Court in the



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case.”). Plaintiff failed to comply with the Court’s May 18th order after

being expressly advised that failure to do so may lead to dismissal of the

case.    (See Dkts. 11 at 1; 12.)      The Court thus finds dismissal is

warranted. See Riddell v. Florida, 702 F. App’x 869, 871 (11th Cir. 2017)

(per curiam) (“In exercising its authority over the docket, a district court

‘need not tolerate defiance of reasonable orders.’” (citing Equity Lifestyle

Props., Inc. v. Fla. Mowing & Landscape Serv., Inc., 556 F.3d 1232, 1241

(11th Cir. 2009))).

        Defendant asks the Court to dismiss this case with prejudice. (Dkt.

12 at 2.) A dismissal with prejudice is proper only when: “(1) a party

engages in a clear pattern of delay or willful contempt . . . and (2) the

district court specifically finds that lesser sanctions would not suffice.”

Betty K Agencies, Ltd. v. M/V MONADA, 432 F.3d 1333, 1337–38 (11th

Cir. 2005). The Court does not think Plaintiff’s conduct rises to this level

at this point in time. Zocaras v. Castro, 465 F.3d 479, 483 (11th Cir.

2006) (“[D]ismissal of a case with prejudice is considered a sanction of

last resort, applicable only in extreme circumstances.”). While Plaintiff’s

conduct has certainly delayed the efficient disposition of this case, it has




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not risen to the level of “a clear pattern of delay or willful contempt”

sufficient for the dismissal to be with prejudice.

III. Conclusion

     The Court DISMISSES WITHOUT PREJUDICE this case and

DIRECTS the Clerk to close this case.

     SO ORDERED this 6th day of August, 2021.




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